        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 1 of 16




                                                          l!SDC SU:\Y
                                                          DO( I \IF:\T
UNITED STATES DISTRICT COURT                              FLECIIHf\IC\LLY FIL EO
SOUTHERN DISTRICT OF NEW YORK
                                                          DOC   # : _ _ _-:-t"h--+.-:;::;--
                                                          DATE FILED:       y_ llo I\2>
BENJAMIN ASHMORE,

                            Plaintiff,
                                                       11 Civ. 8611 (JMF)
       v.

CGI GROUP INC. and CGI FEDERAL INC.,

                            Defendants.


         STIPULATION AND LIMITED PROTECTIVE ORDER GOVERNING
      THE PRODUCTION AND EXCHANGE OF CONFIDENTIAL INFORMATION

       WHEREAS, the Plaintiff and Defendants in the above-captioned action may seek

discovery or documents, information, or other materials that may contain non-public,

confidential, competitively-sensitive, or proprietary information of another party or of a

third party;

       WHEREAS, Plaintiff and Defendants wish to ensure that confidential information

shall be used only for the purposes of this action and shall not be disclosed or used in

any other way;

       WHEREAS, the Parties have stipulated and agreed to the terms of, and jointly

moved this Court for entry of, the following Limited Protective Order, and the Court

having found that, in light of the nature of the non-public, confidential, competitively-

sensitive, proprietary information that may be sought in discovery, good cause exists for

entry of the Protective Order,

       IT IS ORDERED that this Limited Protective Order Governing Discovery ("Order")



                                                                               29684 7.1 4/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 2 of 16




shall be entered and govern the disclosure and use of certain discovered information in

the above-captioned action (the "Litigation") as hereinafter provided:

       1.     Scope

              a.      This Order shall govern all documents, the information contained

therein, and all other information produced or disclosed during discovery in this

Litigation whether revealed in a document, deposition, other testimony, discovery

response or otherwise ("Discovery Material"), by any party in this Litigation (the

"Producing Party") to any other party (the "Receiving Party") when the same is

designated using the procedures set forth herein. This Order is binding upon the parties

to the Litigation, as well as their respective attorneys, agents, representatives, officers

and employees and others as set forth in this Order.

              b.      Any Producing Party shall have the right to identify and designate

as "Confidential" any document, category of documents, or other material it produces or

provides, or any testimony it gives in this proceeding, which it believes in good faith

constitutes, reflects or discloses its non-public confidential and proprietary information,

including without limitation:   (i) trade secrets under applicable law; (ii) commercial

information (such as business plans, business strategies, market plans, market and/or

demographic research, market penetration, market share, advertising, negotiations, and

license agreements); (iii) financial information (such as budgeting, accounting, sales

figures and advertising expenditures); (iv) business relationship information (such as

information pertaining to potential and/or existing customers, competitors, suppliers,

distributors, affiliates, subsidiaries and parents); (v) information relating to Plaintiff's

subsequent employment, job search and earnings; and (vi) any other information that



                                             2                                296847.1 4/12/2013
          Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 3 of 16




the parties subsequently jointly agree in writing shall be confidential pursuant to Rule

26(c) of the Federal Rules of Civil Procedure (hereinafter, all the foregoing shall be

referred to as "Confidential Information").

              c.     Any party to this Litigation may designate as Confidential

documents or information produced by a third party if the Designating Party or the third

party agreed to treat that Discovery Material as confidential, in which case the

designating party shall be deemed a Producing Party for purposes of this Order.

               d.    The Parties recognize that certain Requests for Production and/or

Interrogatories may call for the production of Confidential Documents. Accordingly, in

order to expedite the exchange of documents, the Parties have agreed that a

"Confidential" Prefix I Designation shall be placed on those specific documents that may

contain Confidential Information. The Parties further agree that such initial designation

may be over-inclusive in order to expedite the exchange of information. The Parties

reserve their rights to make supplemental Confidential Designation should the need

arise.

         2.    Designation of Confidentiality

         Documents or information may be designated "Confidential" in the following

ways:

               a.     A Producing Party shall,      if appropriate,   designate specific

documents as: (i) "Confidential" by marking the first page and each subsequent page of

the document containing all Confidential Information with the legend "CONFIDENTIAL."

To the extent practical, all documents produced or disclosed during discovery in this

Litigation shall be identified by Bates number and the appropriate designation shall be



                                              3                            296847.14/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 4 of 16




placed near the Bates number. To the extent electronic documents are to be produced

in "native" form, as requested by Plaintiff, making Bates numbering difficult, the

Producing Party will attempt to identify each natively produced document with a specific

document number and/or document identification number.

                b.         A Producing Party shall designate interrogatory answers and

responses to requests for admissions as "Confidential Information" by stating or

specifying that the answers or responses or specific parts of them are "Confidential",

and by placing the following legend on each page of interrogatory answers or responses

to   requests        for   admission   containing    Confidential   Information:    "CONTAINS

CONFIDENTIAL INFORMATION."

                c.         In the case of depositions and the information contained in

depositions (including exhibits), counsel for a Producing Party or witness shall

designate portions of the transcript (including exhibits) that contain Confidential

Information as "Confidential" by making a statement to such effect on the record in the

course of the deposition or by letter within 14 business days of receipt of the official

deposition transcript or copy thereof.          The entire deposition transcript (including

exhibits) shall be treated as "Confidential" under this Order until the expiration of the 14

day period for designation. The following legend shall be placed on the front of the

original deposition transcript and each copy of the transcript containing Confidential:

"CONTAINS CONFIDENTIAL INFORMATION". If all or part of a videotaped deposition

is designated as "CONFIDENTIAL", the video container shall be labeled with the legend

provided for in paragraph 2(a) above.

                d.         To the extent that information is produced in a form rendering it



                                                 4                                 296847.1 411212013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 5 of 16




impractical to label (including electronically stored information produced on electronic or

magnetic media) ("Computerized Material"), the Producing Party may designate such

material as "CONFIDENTIAL" by either giving the documents a document identification

number setting forth their "Confidential" status or by cover letter listing the electronic

files that are being designated referring generally to such matter.          Whenever a

Receiving Party reduces electronically stored information designated as "Confidential"

to hard-copy form, the Receiving Party shall take reasonable steps to ensure that the

"Confidential" status of such documents is readily identified. Whenever any Confidential

Computerized Material is going to be used as an exhibit either at a deposition or in a

motion, or such Confidential information is shared with an expert, the Receiving Party

shall ensure that a "Confidential" stamp and/or marking is placed on those documents.

              e.     To the extent that any Receiving Party or counsel for the Receiving

Party creates, develops, or otherwise establishes or maintains for review on any

electronic system information designated "Confidential," that party and/or its counsel

shall take all necessary steps to insure that access to such media is properly restricted

to those persons who, by the terms of this Order, may have access to Confidential

Information, and shall ensure that the Producing Party's "Confidential" designation is

readily apparent to the Receiving Party.

              f.     The Producing Party may withdraw or modify any designation by

notifying counsel for the Receiving Party in writing by fax or electronic delivery,

specifying the withdrawal or modification. If notifcation of the original designation was

given to the Court or the Clerk of the Court as provided in this Order, a copy of the

written withdrawal or modification shall be provided to the Court and/or the Clerk of the



                                             5                               296847.1 4/12/2013
             Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 6 of 16




Court, as applicable.

        3.       Filing of Confidential Information

        To the extent documents and materials containing Confidential Information are to

be filed with the Court, the following procedures shall apply:

                 a.    To the extent any party intends to file Confidential information with

the Court, prior to the filing of such material the Parties will engage in a good-faith

discussion as to whether the designated Confidential Information can be filed "as is,"

thus resulting in the Producing Party's withdrawal of the Confidential designation. If an

agreement cannot be reached, the Parties will adhere to District Judge Furman's

Individual Rule 4(a) as well as the Southern District of New York's procedure.

                 b.     Within three (3) business days of filing Confidential Information,

pursuant to paragraph 3(a), the filing party shall electronically file with the Court, for its

public file, a copy of the filed materials with the Confidential Information in redacted

form.

        4.       Use of Confidential Information

                 a.     Confidential Information shall not be used by the Receiving Party,

for any purpose other than conducting the prosecution or defense of this Litigation, and

in no event shall Confidential Information be used by the Receiving Party for any

business, competitive, personal, private, public, organizational or other purpose.

                 b.     Notwithstanding the foregoing, nothing in this Order shall be

deemed to limit or restrict any Producing Party from using its own documents or its own

Confidential Information for any purpose.




                                              6                                296847.1 4/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 7 of 16




       5.      Disclosure of Confidential Information

Access to information designated as "CONFIDENTIAL" pursuant to this Order shall be

limited to:

               a.     The Court or any other court exercising jurisdiction with respect to

this Litigation, Court personnel, jurors, and qualified persons (including necessary

clerical personnel), recording, taking or transcribing testimony and argument at any

deposition, hearing, trial or appeal in this Litigation;

               b.     Special masters and mediators or other individuals engaged or

consulted in settlement of the Litigation;

               c.     The Plaintiff and outside counsel of record for the parties in this

Litigation (including members or associates of such counsel's firm) and in-house

counsel for the parties as well as counsel's paralegal, investigative, secretarial, and

clerical personnel who are engaged in assisting such counsel in this Litigation;

               d.     Outside photocopying, data processing, or graphic production

services employed by the parties or their counsel of record to assist in this Litigation;

               e.     Any individual expert or expert consulting firm retained by counsel

of record in connection with this Litigation to the extent necessary for that individual

expert or expert consulting firm to prepare a written opinion, to prepare to testify, or to

assist counsel of record in the prosecution or defense of this Litigation, provided,

however, that: (i) such disclosure shall be made only to an individual expert, or to such

members, partners, employees or agents of an expert consulting firm as such expert

consulting firm shall designate as the persons who will undertake the engagement on

behalf of the expert consulting firm (the "Designated Expert Personnel"); (ii) the



                                                7                              296847.14/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 8 of 16




individual expert or Designated Expert Personnel shall use the information solely in

connection with this Litigation; (iii) the individual and/or a representative of each expert

consulting firm shall sign the written assurance attached on Exhibit A on behalf of any

Designated Expert Personnel associated with that firm; and (iv) excluding any retention

for this Litigation, the individual expert and each of the Designated Expert Personnel is

not a current or former (within the past three (3) months from the date of this Order)

employee of any party or any entity which directly or through a parent, subsidiary,

principal, agent, or affiliate competes with any party;

              f.     Any person who:       (i) authored or is listed as a recipient of the

particular material sought to be disclosed to that person; (ii) is currently employed by the

Producing Party and is assisting counsel in the prosecution or defense of this Litigation,

but in such event only to the extent disclosure is necessary to facilitate such assistance;

(iii) was formerly employed by the Producing Party and is assisting counsel in the

prosecution or defense of this Litigation but in such event only to the extent disclosure is

necessary to facilitate such assistance; or (iv) is referred to in the material, but only as

to the specific material in which such person is referenced, discussed, or mentioned;

and

              g.     Any other person to whom the Producing Party agrees in writing or

on the record in court or at a deposition in advance of the disclosure or whom the Court

directs may have access.

       6.     Notification of Protective Order

              a.      Confidential Information shall not be disclosed, described or

otherwise made available to an individual expert or expert consulting firm described in



                                              8                               296847.1 4/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 9 of 16




Paragraph 5(e), unless that expert or firm has executed an Agreement of Confidentiality

in substantially the form attached hereto as Exhibit A.       The original of each such

Agreement shall be maintained by counsel for the party who obtained it until the final

resolution of this Litigation and, in the case of a testifying expert, shall be produced to

the other party at the time the party produces its expert reports and responds to expert

discovery.

              b.     Confidential Information shall not be disclosed to persons who are

non-parties pursuant to Paragraph 5 unless: (i) such persons are first provided with a

copy of this Order; and (ii) disclosing counsel first advises them that they are bound by

the provisions of this Order.

       7.     Use of Confidential Information in Court

              a.     If any Receiving Party plans to utilize any Confidential Information

at a court proceeding, the Receiving Party shall use reasonable efforts to inform the

Producing Party of its intent to use such information at least twenty-four (24) hours in

advance of the proceeding.      If no such advance notice is given, the Receiving Party

shall provide the Producing Party with an opportunity to approach the Court in

confidence, whether in chambers or sidebar or such other method as the Court shall

direct, regarding the use of the Confidential Information before reference is made to any

such Confidential Information on the record.

              b.     In the event that any information designated as "Confidential" is

used in any Court proceeding in this Litigation, including any appeal, it shall not lose its

status as Confidential through that use.

              c.     The rules governing the use of Confidential Information at trial shall



                                               9                              29684 7.1 4/12/2013
       Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 10 of 16




be determined at a future date.

       8.     Objections to Designations

      A party shall not be obligated to challenge the propriety of a Confidential

Information designation at the time made, and a failure to do so shall not preclude a

subsequent challenge to such designation. In the event a party objects to the

designation of any material under this Order, the objecting party shall state its

objections in a letter to counsel for the designating party in this Litigation, whereupon,

the interested parties shall meet and confer in an attempt to resolve any objection. If

the objection is not resolved within fourteen (14) days of transmission of that letter, the

party seeking the Confidential designation must ask the Court, in accordance with the

Court's Local Rules of Practice related to Discovery Disputes, for an Order pertaining to

the Confidential designation with respect to the challenged discovery materials. If such

a request is made, the Producing Party has the burden of establishing that the

designation is proper.     If no such request is made, the material will retain its

designation. If the Producing Party agrees to change the designation, the Producing

Party shall send a written notice of the change in designation to all other parties.         If

notifcation of the original designation was given to the Court or the Clerk of the Court as

provided in this Order, a copy of the written notice of the change in designation shall be

provided to the Court and/or the Clerk of the Court, as applicable. Any documents or

other materials that have been designated "Confidential" shall be treated in the manner

designated until such time as the Court rules that they should not be treated as

Confidential, or the Producing Party agrees to change the designation.




                                            10                               296847.1 4/12/2013
       Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 11 of 16




       9.     Preservation of Rights and Privileges

       Nothing contained in this Order shall affect the right, if any, of any party or

witness to make any type of objection, claim, or other response to discovery requests,

including, without limitation, interrogatories, requests for admissions, requests for

production of documents or questions at a deposition. Nor shall this Order be construed

as a waiver by any party of any right to withhold any Confidential Information as

attorney work product or based on a legally cognizable privilege, or of any right that any

party may have to assert such privilege at any stage of this Litigation.

       10.    Return or Destruction of Materials

       Within sixty (60) business days after the final resolution of this Litigation, a

Receiving Party shall return all Confidential Information to counsel for the Producing

Party or, in lieu thereof, the Receiving Party shall certify in writing that it has been

destroyed. Counsel shall be entitled to retain pleadings and exhibits thereto, affidavits,

motions, briefs, or other papers filed with the Court for archival purposes, even if they

contain Confidential Information, so long as they are clearly marked to reflect that they

contain information subject to this Order and so long as the Confidential Information is

treated as provided in this Order.

       11.    Correction of Designation and Clawback

              a.     A Producing Party that fails to designate Discovery Material as

"Confidential" at the time of its production shall be entitled to make a correction to its

designation. Such correction and notice thereof shall be made in writing. Upon receipt

of a notice of correction, the Receiving Party shall place the appropriate marking on the

document, or to their document database, to reflect its altered confidentiality status and



                                             11                             296847.1 4/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 12 of 16




certify that it has used its best efforts to ensure that the original and all copies of the

document have been appropriately marked. The obligation to treat such material

pursuant to the corrected designation shall be prospective only, and those individuals

who reviewed the mis-designated discovery material prior to notice of the mis-

designation by the Producing Party shall abide by the provisions of this Order with

respect to all future use and disclosure of any information contained in the mis-

designated materials.

              b.      If Confidential Information is disclosed by a Receiving Party to

anyone other than in a manner authorized by this Order, the Receiving Party

responsible for that disclosure must immediately bring all pertinent facts related to that

disclosure to the attention of the Producing Party of the Confidential Information and

make every reasonable effort to retrieve that Confidential Information and to prevent

further disclosure.

       12.    Limitation on Scope of this Order

       The restrictions in this Order shall not apply to documents or information that are

publicly available or that are obtained independently by the Receiving Party from a

person lawfully in possession of those documents or that are already in the possession

of the Receiving Party prior to being produced.

       13.    No Admission

       A party's compliance with the terms of this Order shall not operate as an

admission that any particular document is or is not: (a) confidential; (b) privileged; or (c)

admissible in evidence at trial.




                                             12                                29684 7. 1 4/12/2013
        Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 13 of 16




       14.    Duty to Notify of Receipt of Subpoena

       If any Receiving Party receives a subpoena or a discovery request for documents

subject to this Order, such Receiving Party shall inform the issuer of the subpoena or

discovery request of this Order, provide the subpoena's issuer with the copy of the

Order, and give the Producing Party notice of the subpoena within three (3) business

days after its receipt and before it produces any documents in response to the

subpoena or discovery request, so that the Producing Party has an opportunity to object

prior to the production of any responsive material.

       15.    Application of this Order to Non-Parties

       This Order shall apply to non-parties who provide discovery, by deposition,

production of documents or otherwise, in this Litigation, if said non-party requests in

writing to counsel of record for plaintiff and defendant the protection of this Order as to

its Confidential Information and complies with the provisions of this Order.

       16.    Continuing Force of this Order

       Upon final resolution of this Litigation, the provisions of this Order shall continue

to be binding. This Court expressly retains jurisdiction over this Litigation for

enforcement of the provisions of this Order following the final resolution of this Litigation.

       17.    Confidential Designations Prior to the Entry of this Order

Until this Order is entered by the Court, any Discovery Material designated as

Confidential Information that is produced in this Litigation shall be protected from

disclosure pursuant to the terms of this Order as if ordered by the Court. If any actions

subject to this Order are transferred to another Court, the terms of this Order shall

remain in full force and effect unless modified by written agreement of all parties or



                                              13                                296847.1 4112/2013
       Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 14 of 16




order of the Court.

       18.    Modification of Order

       This Order is binding on all parties to this Litigation and on all non-parties who

have been served with a copy of this Order, and shall remain in force and effect until

modified, superseded, or terminated by consent of the parties or by order of the Court.

This Order shall not prevent a party from applying to the Court for relief therefrom, or

from applying to the Court for further or additional protective orders, or from agreeing to

modifications of this Order, subject to the approval of the Court. Nothing in this Order

shall prevent a Producing Party from seeking further, greater or lesser protection with

respect to the use of any Confidential Information, or seeking to prevent Confidential

Information from being provided to persons described in paragraph 5 of this Order.

       19.    Applicability to Future Actions

       The terms of this Order shall be binding upon all current and future parties to this

Litigation and their counsel. Within ten (10) days of (i) entry of appearance by a new

party to the Litigation, or (ii) notification of the filing in this District of a complaint that

arises out of the same facts alleged in plaintiffs' Complaint, plaintiff's counsel shall serve

a copy of this Order on such new party's counsel.




                                               14                                296847.14/12/2013
         Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 15 of 16




         20.   Notices

         Any notices required hereunder shall be deemed given: (a) when mailed or

given to an overnight delivery service, if sent by U.S. mail or by such service; (b) upon

transmission, if sent by fax or electronic transmission; or (c) upon personal delivery, if

sent by messenger or other means of personal delivery.




David N. Mair, Esq.
Attorney for Plaintiff



                                       This stipulation binds the parties to treat as
Stuart F. Klein, Esq.                  confidential the documents so classified. This
Attorney for Defendants                Court, however, has not reviewed the documents
                                       referenced herein; therefore, by so ordering
                                       this stipulation, the Court makes no finding as
                                       to whether the documents are confidential.
Dated:    April 16              2013
                            J
                                       That finding will be made, if ever, upon a
                                       document-by-document review.




Unlte5f',States\oiSb?ct Court Judge
     "




                                           15                              296847.1 4/12/2013
         Case 1:11-cv-08611-AT Document 43 Filed 04/16/13 Page 16 of 16




                                      EXHIBIT A

         I hereby certify (i) my understanding that Discovery Material containing

Confidential Information is being provided to me pursuant to the terms and restrictions

of the Stipulation and Limited Protective Order Governing the Production and Exchange

of Confidential Information ("Order") entered in Benjamin Ashmore v. CGI Group Inc.

and CGI Federal Inc., United States District Court, Southern District of New York, Civil

Action No. 11-cv-8611 (JMF), and (ii) that I have received and read the Order. I

understand the terms of the Order, I agree to be fully bound by the Order, and I hereby

submit to the jurisdiction of the Court for purposes of enforcement of the Order. I

understand that violation of the Order may be punishable by contempt of Court and

applicable damages.

Dated:                            Signature:----------
                                  Name: _ _ _ _ _ _ _ _ _ _ __

                                  Address:-----------




                                           16                              296847.1 4/12/2013
